                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


HANNAH PRIDDY,

                     Plaintiff,

      v.                                        Case No. 22-CV-0474

DR. NOAH’S ARK VETERINARY
CLINIC, NOAH ARNOLD, and
ABC INSURANCE COMPANY,

               Defendants,

STATE FARM FIRE AND CASUALTY COMPANY,

               Intervenor.


                      DR. NOAH’S ARK VETERINARY CLINIC’S
                      CIVIL L. R. 7.1 DISCLOSURE STATEMENT


               The undersigned counsel of record for Defendant Dr. Noah’s Ark

Veterinary Clinic in the above-captioned action submits the following in compliance

with Civil L. R. 7.1 and Fed. R. Civ. P. 7.1:

               1.    The full name of every party the undersigned counsel represents

in the action is as follows: Dr. Noah’s Ark Veterinary Clinic.

               2.    Dr. Noah’s Ark Veterinary Clinic has no parent corporation, and

no publicly traded company owns 10% or more of its stock.

               3.    The name of the law firm whose attorneys will appear for

Defendant Dr. Noah’s Ark Veterinary Clinic in the above-captioned action is Kravit,

Hovel & Krawczyk s.c.




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    Dated this 13th day of March, 2023.

                             KRAVIT, HOVEL & KRAWCZYK s.c.

                             s/Aaron H. Aizenberg
                             Aaron H. Aizenberg
                               State Bar No. 1066340
                             Kravit, Hovel & Krawczyk s.c.
                             825 North Jefferson Street - Fifth Floor
                             Milwaukee, WI 53202
                             Telephone: (414) 271-7100
                             Facsimile: (414) 271-8135
                             E-mail: aha@kravitlaw.com

                             Attorneys for Defendant Dr. Noah’s Ark
                             Veterinary Clinic




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